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UNITED STATES DISTICT COURT FOR THE EASTERN DISTRICT OF NEW YORK Index Number: 2:21-CV-01232-GRB-ST

ATTORNEY(S) PHILLIPS & ASSOCIATES
45 BROADWAY STE 430 NEW YORK, NY 40006 | PH: (212) 248-7431

JANE DOE
Plaintiff
VS
LONG ISLAND MOTORS, ING. AND DAVID DELVECCHIO
Defendant
STATE OF NEW YORK, COUNTY OF NASSAU, SS.: AFFIDAVIT OF SERVICE
BRUCE KUSTKA , being sworn deposes and states that, the Deponent is not a party herein, is over the age of

18 years and resides in the State of New York.

That on 7/15/2022, at 10:22 AM at 720 SUNRISE HWY, WEST BABYLON, NY 11704 Deponent served the within ELECTRONIC
ORDER . On: DAVID DELVECCHIO, Defendant therein named, { hereinafter referred to as “subject').

By delivering thereat a true copy of each to SUSAN LESCIUS (Co-Worker}, a person of suitable age and discretion.

Said premises is subject's actual place of business / employment within the state. A description of SUSAN LESCIUS is as

follows:
Sex: Female Colorofskin: White Colorofhair: Blonde Age: 50

Height: 5ft4in-5ft8in Weight: 100-130 Lbs. Other:

On July 15, 2022, service was completed by mailing a true copy of the above stated document(s) to the Defendant at the above
stated address, in a First Class postpaid properly addressed envelope marked "Personal and Confidential" in an official
depository under the exclusive care and custody of the United States Post Office in the State of New York.

| asked the person spoken to, on whether the subject was in active military service or financially dependent upon any one
who is in the military service of the United States or of the State of NEW YORK in any capacity whatever and received a
negative reply. The source of my information and belief are the conversations above narrated. Upon that information and
belief | assert that the recipient is not in the military service of NEW YORK State or of the Unifed)States as that term is
defined in either the State or in Federal statutes.

Sworn to bef 15, 2022

bel ilook ——
“Notahy Public - State of New York

BRUCE KUSTKA
No, OfML6317724

Qualified in Nassau County Lic#
My Commission Expires 4/16/23 Client's File No.: Job # 2220743

‘Protéss Server, Please Sign

inrer County JUDICIAL SERVICES, LLC, 6851 Jericuo Turnpixe, Surre 189, Svosser, NY 11791 LICENSE #1371771
UniTep Process SERVICE
